Nebraska Supreme Court Online Library
www.nebraska.gov/apps-courts-epub/
08/28/2020 09:08 AM CDT




                                                      - 542 -
                               Nebraska Supreme Court Advance Sheets
                                        306 Nebraska Reports
                                  STATE EX REL. COUNSEL FOR DIS. v. VERNON
                                              Cite as 306 Neb. 542



                       State of Nebraska ex rel. Counsel for Discipline
                          of the Nebraska Supreme Court, relator,
                              v. Courtney J. Vernon, respondent.
                                                  ___ N.W.2d ___

                                        Filed July 17, 2020.    No. S-20-213.

                    Original action. Judgment of suspension.

                 Heavican, C.J., Miller-Lerman, Cassel, Stacy, Funke,
               Papik, and Freudenberg, JJ.

                    Per Curiam.
                                      INTRODUCTION
                  The State Bar of Arizona entered a “Final Judgment and
               Order” regarding the respondent, Courtney J. Vernon, on
               February 7, 2020. The Counsel for Discipline of the Nebraska
               Supreme Court, the relator, filed a motion for reciprocal disci-
               pline against the respondent. We grant the motion for recipro-
               cal discipline and impose a suspension of 6 months and 1 day.

                                           FACTS
                  The respondent was admitted to the practice of law in the
               State of Nebraska on December 7, 2010, and has also been
               admitted to the practice of law in Arizona. She is currently an
               inactive member of the Nebraska State Bar Association and
               an active member of the State Bar of Arizona.
                  On February 7, 2020, the State Bar of Arizona issued an
               order entered on the consent of the parties that found that
               the respondent violated the Arizona Rules of Professional
                             - 543 -
         Nebraska Supreme Court Advance Sheets
                  306 Nebraska Reports
           STATE EX REL. COUNSEL FOR DIS. v. VERNON
                       Cite as 306 Neb. 542
Conduct. The order suspended the respondent from the prac-
tice of law for 6 months and 1 day, effective March 9, 2020, to
be followed by 2 years of monitored probation. The respond­
ent conditionally admitted that she violated “Rule 41(g), Ariz.
R. Sup. Ct. (Duties and Obligations: members shall avoid
engaging in unprofessional conduct and to advance no fact
prejudicial to the honor or reputation of a party or a wit-
ness unless required by the duties to a client or the tribunal)”
and “Rule 42, ER 8.4(b) (It is professional misconduct for
a ­lawyer to commit a criminal act that reflects adversely on
the lawyer’s honesty, trustworthiness or fitness as a lawyer in
other respects)” when she was arrested on four separate occa-
sions for conduct while intoxicated.
    On March 12, 2020, the relator filed a motion for recipro-
cal discipline pursuant to Neb. Ct. R. § 3-321 of the discipli­
nary rules. The motion stated that the above-cited “Arizona
Supreme Court Rule 41(g) and Rules of Professional Conduct
8.4(b)” are in sum and substance the equivalent of Neb. Rev.
Stat. § 7-104 (Reissue 2012) and Neb. Ct. R. of Prof. Cond.
§ 3-508.4(b) and (d) (rev. 2016).
    On March 17, 2020, this court filed an order to show cause
as to why it should not impose reciprocal discipline. On
March 19, the relator filed a response that requested reciprocal
discipline of a period of suspension without specification. On
April 3, the respondent filed a response in which she requested
that this court grant her a 3-month suspension or, in the event
that this court agrees with the discipline imposed in Arizona,
that the suspension and probation run concurrently to disci-
pline imposed in Arizona.

                         ANALYSIS
   The basic issues in a disciplinary proceeding against an
attorney are whether discipline should be imposed and, if so,
the type of discipline appropriate under the circumstances.
State ex rel. Counsel for Dis. v. Murphy, 283 Neb. 982, 814
N.W.2d 107 (2012). In a reciprocal discipline proceeding, a
                              - 544 -
          Nebraska Supreme Court Advance Sheets
                   306 Nebraska Reports
           STATE EX REL. COUNSEL FOR DIS. v. VERNON
                       Cite as 306 Neb. 542
judicial determination of attorney misconduct in one jurisdic-
tion is generally conclusive proof of guilt and is not subject to
relitigation in the second jurisdiction. Id. Neb. Ct. R. § 3-304
of the disciplinary rules provides that the following may be
considered as discipline for attorney misconduct:
         (A) Misconduct shall be grounds for:
         (1) Disbarment by the Court; or
         (2) Suspension by the Court; or
         (3) Probation by the Court in lieu of or subsequent to
      suspension, on such terms as the Court may designate; or
         (4) Censure and reprimand by the Court; or
         (5) Temporary suspension by the Court; or
         (6) Private reprimand by the Committee on Inquiry or
      Disciplinary Review Board.
         (B) The Court may, in its discretion, impose one or
      more of the disciplinary sanctions set forth above.
Section 3-321 of the disciplinary rules provides in part:
         (A) Upon being disciplined in another jurisdiction, a
      member shall promptly inform the Counsel for Discipline
      of the discipline imposed. Upon receipt by the Court of
      appropriate notice that a member has been disciplined in
      another jurisdiction, the Court may enter an order impos-
      ing the identical discipline, or greater or lesser discipline
      as the Court deems appropriate, or, in its discretion, sus-
      pend the member pending the imposition of final disci-
      pline in such other jurisdiction.
In imposing attorney discipline, we evaluate each case in light
of its particular facts and circumstances. State ex rel. Counsel
for Dis. v. Murphy, supra.
   Upon due consideration of the record, and the facts as
determined by the State Bar of Arizona, we determine that
suspension is appropriate. Therefore, we grant the motion for
reciprocal discipline and impose a suspension of 6 months and
1 day to have commenced on May 1, 2020. We note that the
State Bar of Arizona is monitoring the respondent by requiring
                             - 545 -
         Nebraska Supreme Court Advance Sheets
                  306 Nebraska Reports
           STATE EX REL. COUNSEL FOR DIS. v. VERNON
                       Cite as 306 Neb. 542
probation for 2 years following her Arizona suspension, and
we decline to impose probationary terms.

                        CONCLUSION
   The motion for reciprocal discipline is granted. The respond­
ent is suspended from the practice of law for 6 months and 1
day to be served starting on May 1, 2020. The respondent
shall comply with all notification requirements by suspended
members provided by Neb. Ct. R. § 3-316 (rev. 2014), and
upon failure to do so, shall be subject to punishment for con-
tempt of this court. The respondent is directed to pay costs
and expenses in accordance with Neb. Rev. Stat. §§ 7-114 and
7-115 (Reissue 2012) and Neb. Ct. R. §§ 3-310(P) (rev. 2019)
and 3-323(B) of the disciplinary rules within 60 days after
an order imposing costs and expenses, if any, is entered by
the court.
                                    Judgment of suspension.
